                                Case 23-11458-JTD                       Doc 1         Filed 09/15/23           Page 1 of 15

    Fill in this information to identify the case:

    United States Bankruptcy Court for the:

                              District of Delaware
                                           (State)
    Case number (If known):                                     Chapter 7

                                                                                                                                          Check if this is an
                                                                                                                                                amended filing
  Official Form 205
  Involuntary Petition Against a Non-Individual                                                                                                          12/15
  Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
  a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
  more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
  known).


  Part 1:   Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


  1. Chapter of the                   Check one:
     Bankruptcy Code
                                      
                                      X Chapter 7
                                       Chapter 11

  Part 2:   Identify the Debtor


  2. Debtor’s name                     Healthcare Solutions Management Group, Inc.


  3. Other names you know
     the debtor has used in
     the last 8 years
     Include any assumed
     names, trade names, or
     doing business as names.

  4. Debtor’s federal
     Employer Identification           Unknown
     Number (EIN)
                                       3      8      –3 7 6         7    3    57
                                      EIN

                                      Principal place of business                                       Mailing address, if different
  5. Debtor’s address


                                        26 Reynolds Street
                                      Number           Street                                           Number      Street



                                                                                                        P.O. Box

                                       Springhill                               LA       71075
                                      City                                    State     ZIP Code        City                            State      ZIP Code



                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business

                                        Webster Parish
                                      County                                                            Number      Street




                                                                                                        City                            State      ZIP Code


  Official Form
3095591.1       205
             117838-109088                                  Involuntary Petition Against a Non-Individual                                       page 1
                                  Case 23-11458-JTD                Doc 1          Filed 09/15/23             Page 2 of 15

  Debtor         Healthcare Solutions Management Group, Inc.                                      Case number (if known)
                Name




  6.   Debtor’s website (URL)         N/A. Debtor apparently does not maintain a website at this time.



  7.   Type of debtor
                                     
                                     X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other type of debtor. Specify:

       Type of debtor’s
  8.                                  Check one:
       business
                                     
                                     X Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      Railroad (as defined in 11 U.S.C. § 101(44))
                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      None of the types of business listed.
                                      Unknown type of business.

  9.   To the best of your           
                                     X No
       knowledge, are any
       bankruptcy cases               Yes. Debtor                                                                 Relationship
       pending by or against
                                              District                              Date filed                      Case number, if known
       any partner or affiliate                                                                  MM / DD / YYYY
       of this debtor?

                                              Debtor                                                                 Relationship

                                              District                              Date filed                      Case number, if known
                                                                                                 MM / DD / YYYY




  Part 3:       Report About the Case

  10. Venue                          Check one:

                                     
                                     X Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                      A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

  11. Allegations                    Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                     The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                     At least one box must be checked:

                                     
                                     X The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                      Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

  12. Has there been a               
                                     X No
       transfer of any claim
       against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
       to any petitioner?               Rule 1003(a).


  Official Form
3095591.1       205
             117838-109088                               Involuntary Petition Against a Non-Individual                                      page 2
                                 Case 23-11458-JTD                  Doc 1        Filed 09/15/23            Page 3 of 15

  Debtor         Healthcare Solutions Management Group, Inc.                                    Case number (if known)
                Name




  13. Each petitioner’s claim              Name of petitioner                                  Nature of petitioner’s claim              Amount of the claim
                                                                                                                                         above the value of
                                                                                                                                         any lien


                                            Millrock Investment Fund 1, LLC                    ***                                   $888,914

                                           William T. Carrigan                                 ***                                   $32,718.05

                                           RWDI Maplewood, L.P.                                ***                                   $369,423.18

                                           All American Storage, LLC                           ***                                   $34,672.81

                                           934 Hollywood, L.L.C.                               ***                                   $30,331.24

                                           Happiness LLC                                       ***                                   $376,197.41

                                           ACM Columbia LLC                                    ***                                   $148,905.24

                                           Crawford Family Trust                               ***                                   $190,376.13

                                           Mark Machlis                                        ***                                   $63,893.62

                                           *** See, for nature of each petitioner’s claim, concurrently filed Motion of Petitioning Creditors for
                                           Order Directing Appointment of Interim Trustee Under Section 303(g) of the Bankruptcy Code

                                                                                                     Total of petitioners’ claims
                                                                                                                                         $2,135,431.68

      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.



  Part 4:     Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.




  Official Form
3095591.1       205
             117838-109088                               Involuntary Petition Against a Non-Individual                                       page 3
                                      Case 23-11458-JTD                        Doc 1     Filed 09/15/23               Page 4 of 15

  Debtor            Healthcare Solutions Management Group, Inc.                                            Case number (if known)
                  Name



      Petitioners or Petitioners’ Representative                                             Attorneys

      Name and mailing address of petitioner                                                   Christopher Viceconte
                                                                                             Printed name
       Millrock Investment Fund 1, LLC
      Name                                                                                     Gibbons P.C.
                                                                                             Firm name, if any
       1064 S. North County Blvd, Suite 350
      Number Street                                                                            300 Delaware Avenue, Suite 1015
                                                                                             Number Street

      Pleasant Grove                               Utah                84062                   Wilmington                             DE              19801-1671
      City                                          State               ZIP Code             City                                      State          ZIP Code

                                                                                             Contact phone 302-518-6300             Email CViceconte@gibbonslaw.com
      Name and mailing address of petitioner’s representative, if any

                                                                                             Bar number       5568
       Kevin G. Long
      Name
                                                                                             State            Delaware
      1064 S. North County Blvd, Suite 350
      Number Street


      Pleasant Grove                               Utah                84062
      City                                          State               ZIP Code          /s/ Christopher Viceconte (No. 5568)
                                                                                             Signature of attorney
      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on    09 / 07 / 2023                                                          Date signed       09 /15 / 2023
                     MM / DD / YYYY                                                                            MM / DD / YYYY


   /s/ Kevin G. Long, Manager
      Signature of petitioner or representative, including representative’s title




  Official Form
3095591.1       205
             117838-109088                                        Involuntary Petition Against a Non-Individual                                       page 4
                                      Case 23-11458-JTD                        Doc 1     Filed 09/15/23               Page 5 of 15

  Debtor            Healthcare Solutions Management Group, Inc.                                            Case number (if known)
                  Name




      Name and mailing address of petitioner                                                  Attorneys

       William T. Carrigan                                                                    Christopher Viceconte
      Name                                                                                   Printed name


       8091 S. Mountain Oaks Circle
                                                                                               Gibbons P.C.
                                                                                             Firm name, if any
      Number Street

                                                                                               300 Delaware Avenue, Suite 1015
      Cottonwood Heights                            Utah                84121                Number Street
      City                                          State               ZIP Code
                                                                                               Wilmington                             DE              19801-1671
                                                                                             City                                      State          ZIP Code
      Name and mailing address of petitioner’s representative, if any                        Contact phone 302-518-6300               Email CViceconte@gibbonslaw.com


      Name                                                                                   Bar number       5568


                                                                                             State            Delaware
      Number Street


      City                                          State               ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.
                                                                                           /s/ Christopher Viceconte (No. 5568)
      Executed on    09 / 11 / 2023                                                          Signature of attorney
                     MM / DD / YYYY
                                                                                                                 09 / 15 / 2023
   /s/ William T. Carrigan                                                                  Date signed
                                                                                                               MM / DD / YYYY
      Signature of petitioner or representative, including representative’s title




      Name and mailing address of petitioner                                                  Attorneys

       RWDI Maplewood, L.P.                                                                   Christopher Viceconte
      Name                                                                                   Printed name


       32932 Pacific Coast Hwy, 14-388
                                                                                               Gibbons P.C.
                                                                                             Firm name, if any
      Number Street

                                                                                                300 Delaware Avenue, Suite 1015
      Dana Point                                    California           92629               Number Street
      City                                          State               ZIP Code
                                                                                               Wilmington                             DE              19801-1671
                                                                                             City                                      State          ZIP Code
      Name and mailing address of petitioner’s representative, if any
                                                                                             Contact phone 302-518-6300             Email CViceconte@gibbonslaw.com
       Scott McCarter
      Name
                                                                                             Bar number       5568

       32932 Pacific Coast Hwy, 14-388
      Number Street                                                                          State            Delaware


      Dana Point                                    California           92629
      City                                          State               ZIP Code


      I declare under penalty of perjury that the foregoing is true and correct.           /s/ Christopher Viceconte (No. 5568)
                                                                                             Signature of attorney
      Executed on    09 / 11 / 2023
                     MM / DD / YYYY


   /s/ Scott McCarter, Manager of G.P.
                                                                                             Date signed       09 / 15 / 2023
                                                                                                               MM / DD / YYYY

      Signature of petitioner or representative, including representative’s title




  Official Form
3095591.1       205
             117838-109088                                        Involuntary Petition Against a Non-Individual                                       page 5
                                       Case 23-11458-JTD                       Doc 1       Filed 09/15/23                Page 6 of 15

  Debtor             Healthcare Solutions Management Group, Inc.                                              Case number (if known)
                   Name


       Name and mailing address of petitioner                                                   Attorneys

        All American Storage, LLC                                                               Christopher Viceconte
       Name                                                                                    Printed name


        8091 S. Mountain Oaks Circle
                                                                                                 Gibbons P.C.
                                                                                               Firm name, if any
       Number Street

                                                                                                  300 Delaware Avenue, Suite 1015
       Cottonwood Heights                            Utah                84121                 Number Street
       City                                          State               ZIP Code
                                                                                                 Wilmington                               DE              19801-1671
                                                                                               City                                        State          ZIP Code
       Name and mailing address of petitioner’s representative, if any
                                                                                               Contact phone 302-518-6300              Email CViceconte@gibbonslaw.com
        William T. Carrigan
       Name
                                                                                               Bar number        5568

        8091 S. Mountain Oaks Circle
       Number Street                                                                           State             Delaware


       Cottonwood Heights                            Utah                84121
       City                                          State               ZIP Code


       I declare under penalty of perjury that the foregoing is true and correct.            /s/ Christopher Viceconte (No. 5568)
                                                                                               Signature of attorney
       Executed on    09 / 11 / 2023
                      MM / DD / YYYY
                                                                                                                       09 / 15 / 2023

   /s/ William T. Carrigan, Owner / Managing Member
                                                                                               Date signed
                                                                                                                      MM / DD / YYYY

 Signature of petitioner or representative, including representative’s title


       Name and mailing address of petitioner                                                   Attorneys

         934 Hollywood, L.L.C.                                                                   Christopher Viceconte
       Name                                                                                     Printed name


        7613 S. Prospector Drive
                                                                                                 Gibbons P.C.
                                                                                                Firm name, if any
       Number Street

                                                                                                   300 Delaware Avenue, Suite 1015
        Salt Lake City                               Utah                 84121                 Number Street
       City                                          State               ZIP Code
                                                                                                  Wilmington                              DE              19801-1671
                                                                                                City                                       State          ZIP Code
       Name and mailing address of petitioner’s representative, if any
                                                                                                Contact phone 302-518-6300              Email CViceconte@gibbonslaw.com
         Mark Machlis
       Name
                                                                                                Bar number        5568

        7613 S. Prospector Drive
       Number Street                                                                            State             Delaware


        Salt Lake City                               Utah                 84121
       City                                          State               ZIP Code

       I declare under penalty of perjury that the foregoing is true and correct.            /s/ Christopher Viceconte (No. 5568)
                                                                                                Signature of attorney
       Executed on     09 / 08 / 2023
                       MM / DD / YYYY


    /s/ Mark Machlis, Managing Member
                                                                                                Date signed         09 / 15 / 2023
                                                                                                                     MM / DD / YYYY

 Signature of petitioner or representative, including representative’s title




  Official Form
3095591.1       205
             117838-109088                                          Involuntary Petition Against a Non-Individual                                         page 6
                                       Case 23-11458-JTD                        Doc 1     Filed 09/15/23                Page 7 of 15

  Debtor             Healthcare Solutions Management Group, Inc.                                             Case number (if known)
                  Name


       Name and mailing address of petitioner                                                  Attorneys

        Happiness LLC                                                                           Christopher Viceconte
       Name                                                                                    Printed name


        3375 W. Mount Ellen Way, PC307
                                                                                                Gibbons P.C.
                                                                                               Firm name, if any
       Number Street

                                                                                                  300 Delaware Avenue, Suite 1015
       Taylorsville                                  Utah                 84129                Number Street
       City                                          State               ZIP Code
                                                                                                 Wilmington                             DE              19801-1671
                                                                                               City                                      State          ZIP Code
       Name and mailing address of petitioner’s representative, if any
                                                                                               Contact phone 302-518-6300             Email CViceconte@gibbonslaw.com
        Gabor Koltai
       Name
                                                                                               Bar number        5568

        3375 W. Mount Ellen Way, PC307                                                                           Delaware
       Number Street                                                                           State


       Taylorsville                                  Utah                 84129
       City                                          State               ZIP Code


       I declare under penalty of perjury that the foregoing is true and correct.           /s/ Christopher Viceconte (No. 5568)
                                                                                               Signature of attorney
       Executed on    09 / 07 / 2023
                      MM / DD / YYYY


    /s/ Gabor Koltai, Managing Owner
                                                                                               Date signed         09 / 15 / 2023
                                                                                                                    MM / DD / YYYY

 Signature of petitioner or representative, including representative’s title


       Name and mailing address of petitioner                                                  Attorneys

        ACM Columbia LLC                                                                        Christopher Viceconte
       Name                                                                                    Printed name


        c/o Crown Properties, 1650 Murfreesboro Rd., Ste. 224
                                                                                                Gibbons P.C.
                                                                                               Firm name, if any
       Number Street

                                                                                                  300 Delaware Avenue, Suite 1015
       Franklin                                     TN                37067-5080               Number Street
       City                                          State               ZIP Code
                                                                                                 Wilmington                             DE              19801-1671
                                                                                               City                                      State          ZIP Code
       Name and mailing address of petitioner’s representative, if any
                                                                                               Contact phone 302-518-6300             Email CViceconte@gibbonslaw.com
        Andrew Braine
       Name
                                                                                               Bar number        5568

        Crown Properties, 1650 Murfreesboro Rd., Ste. 224                                                        Delaware
       Number Street                                                                           State


       Franklin                                     TN                 37067-5080
       City                                          State               ZIP Code

       I declare under penalty of perjury that the foregoing is true and correct.           /s/ Christopher Viceconte (No. 5568)
                                                                                               Signature of attorney
       Executed on    09 / 13 / 2023
                      MM / DD / YYYY
                                                                                                                    09 / 15 / 2023

    /s/ Andrew Braine, President
                                                                                               Date signed

                                                                                                                    MM / DD / YYYY

       Signature of petitioner or representative, including representative’s title




  Official Form
3095591.1       205
             117838-109088                                         Involuntary Petition Against a Non-Individual                                        page 7
                                      Case 23-11458-JTD                        Doc 1     Filed 09/15/23                Page 8 of 15

  Debtor            Healthcare Solutions Management Group, Inc.                                             Case number (if known)
                 Name


      Name and mailing address of petitioner                                                  Attorneys

       Crawford Family Trust                                                                   Christopher Viceconte
      Name                                                                                    Printed name


       9291 Darrow Drive
                                                                                               Gibbons P.C.
                                                                                              Firm name, if any
      Number Street

                                                                                                 300 Delaware Avenue, Suite 1015
      Huntington Beach                               CA                92646                  Number Street
      City                                          State               ZIP Code
                                                                                                Wilmington                             DE              19801-1671
                                                                                              City                                      State          ZIP Code
      Name and mailing address of petitioner’s representative, if any
                                                                                              Contact phone 302-518-6300             Email CViceconte@gibbonslaw.com
       J. Kirk Crawford
      Name
                                                                                              Bar number        5568

       9291 Darrow Drive
      Number Street                                                                           State             Delaware


      Huntington Beach                               CA                92646
      City                                          State               ZIP Code


      I declare under penalty of perjury that the foregoing is true and correct.           /s/ Christopher Viceconte (No. 5568)
                                                                                              Signature of attorney
      Executed on    09 / 07 / 2023
                     MM / DD / YYYY
                                                                                                                   09 / 15 / 2023

    /s/ J. Kirk Crawford, Trustee
                                                                                              Date signed

                                                                                                                   MM / DD / YYYY

      Signature of petitioner or representative, including representative’s title

      Name and mailing address of petitioner                                                  Attorneys

       Mark Machlis                                                                            Christopher Viceconte
      Name                                                                                    Printed name


       7613 S. Prospector Drive
                                                                                               Gibbons P.C.
                                                                                              Firm name, if any
      Number Street

                                                                                                 300 Delaware Avenue, Suite 1015
      Salt Lake City                                Utah                84121                 Number Street
      City                                          State               ZIP Code
                                                                                                Wilmington                             DE              19801-1671
                                                                                              City                                      State          ZIP Code
      Name and mailing address of petitioner’s representative, if any
                                                                                              Contact phone 302-518-6300             Email CViceconte@gibbonslaw.com
       N/A
      Name
                                                                                              Bar number        5568

       N/A
      Number Street                                                                           State             Delaware


      N/A
      City                                          State               ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.           /s/ Christopher Viceconte (No. 5568)
                                                                                              Signature of attorney
      Executed on    09 / 08 / 2023
                     MM / DD / YYYY
                                                                                                                  09 / 15 / 2023

    /s/ Mark Machlis
                                                                                              Date signed

                                                                                                                MM / DD / YYYY

      Signature of petitioner or representative, including representative’s title




  Official Form
3095591.1       205
             117838-109088                                        Involuntary Petition Against a Non-Individual                                        page 8
                 Case 23-11458-JTD        Doc 1     Filed 09/15/23    Page 9 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                    Chapter 7
 Healthcare Solutions Management Group,
                                                    Case No.
 Inc.,

 Involuntary Chapter 7 Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Petitioning Creditor 934 Hollywood, L.L.C. (“934 Hollywood”), through its undersigned

counsel, hereby discloses that (1) it does not have a parent corporation: and (2) there is no

publicly held corporation that owns 10% or more of 934 Hollywood’s membership interests.

          Dated this 15th day of September, 2023.


                                              GIBBONS P.C.


                                              /s/ Christopher Viceconte
                                              Christopher Viceconte (No. 5568)
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801-1671
                                              (302) 518-6322
                                              cviceconte@gibbonslaw.com
                Case 23-11458-JTD        Doc 1      Filed 09/15/23   Page 10 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                    Chapter 7
 Healthcare Solutions Management Group,
                                                    Case No.
 Inc.,

 Involuntary Chapter 7 Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Petitioning Creditor ACM Columbia LLC (“ACM Columbia”), through its undersigned counsel,

hereby discloses that (1) its parent corporation is Crown Properties, Incorporated; and (2) there is

no publicly held corporation that owns 10% or more of ACM Columbia’s membership interests.

          Dated this 15th day of September, 2023.


                                              GIBBONS P.C.


                                              /s/ Christopher Viceconte
                                              Christopher Viceconte
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801-1671
                                              (302) 518-6322
                                              cviceconte@gibbonslaw.com
                Case 23-11458-JTD        Doc 1      Filed 09/15/23   Page 11 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                    Chapter 7
 Healthcare Solutions Management Group,
                                                    Case No.
 Inc.,

 Involuntary Chapter 7 Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Petitioning Creditor All American Storage, LLC (“All American”), through its undersigned

counsel, hereby discloses that (1) it does not have a parent corporation: and (2) there is no

publicly held corporation that owns 10% or more of All American’s membership interests.

          Dated this 15th day of September, 2023.

                                              GIBBONS P.C.


                                              /s/ Christopher Viceconte
                                              Christopher Viceconte (No. 5568)
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801-1671
                                              (302) 518-6322
                                              cviceconte@gibbonslaw.com
                Case 23-11458-JTD        Doc 1      Filed 09/15/23   Page 12 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                    Chapter 7
 Healthcare Solutions Management Group,
                                                    Case No.
 Inc.,

 Involuntary Chapter 7 Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Petitioning Creditor Crawford Family Trust (“Crawford”), through its undersigned counsel,

hereby discloses that (1) it does not have a parent corporation: and (2) there is no publicly held

corporation that owns 10% or more of the ownership interests in Crawford.

          Dated this 15th day of September, 2023.


                                              GIBBONS P.C.


                                              /s/ Christopher Viceconte
                                              Christopher Viceconte (No. 5568)
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801-1671
                                              (302) 518-6322
                                              cviceconte@gibbonslaw.com
                Case 23-11458-JTD        Doc 1      Filed 09/15/23    Page 13 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                    Chapter 7
 Healthcare Solutions Management Group,
                                                    Case No.
 Inc.,

 Involuntary Chapter 7 Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Petitioning Creditor Happiness LLC (“Happiness”), through its undersigned counsel, hereby

discloses that (1) it does not have a parent corporation: and (2) there is no publicly held

corporation that owns 10% or more of Happiness’s membership interests.

          Dated this 15th day of September, 2023.

                                              GIBBONS P.C.


                                              /s/ Christopher Viceconte
                                              Christopher Viceconte (No. 5568)
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801-1671
                                              (302) 518-6322
                                              cviceconte@gibbonslaw.com
                Case 23-11458-JTD        Doc 1      Filed 09/15/23   Page 14 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                    Chapter 7
 Healthcare Solutions Management Group,
                                                    Case No.
 Inc.,

 Involuntary Chapter 7 Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Petitioning Creditor Millrock Investment Fund 1, LLC (“Millrock”), through its undersigned

counsel, hereby discloses that (1) it does not have a parent corporation: and (2) there is no

publicly held corporation that owns 10% or more of Millrock’s membership interests.

          Dated this 15th day of September, 2023.


                                              GIBBONS P.C.


                                              /s/ Christopher Viceconte
                                              Christopher Viceconte (No. 5568)
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801-1671
                                              (302) 518-6322
                                              cviceconte@gibbonslaw.com
                Case 23-11458-JTD        Doc 1      Filed 09/15/23   Page 15 of 15




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                    Chapter 7
 Healthcare Solutions Management Group,
                                                    Case No.
 Inc.,

 Involuntary Chapter 7 Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Petitioning Creditor RWDI Maplewood, L.P. (“Maplewood”), through its undersigned counsel,

hereby discloses that (1) it does not have a parent corporation: and (2) there is no publicly held

corporation that owns 10% or more of Maplewood’s interests.

          Dated this 15th day of September, 2023.


                                              GIBBONS P.C.


                                              /s/ Christopher Viceconte
                                              Christopher Viceconte (No. 5568)
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801-1671
                                              (302) 518-6322
                                              cviceconte@gibbonslaw.com
